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UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

IN THE MATTER OF:
PATSY J. PIERSON, Case No.: 14-05033
Chapter 13 - Filed: 07/29/2014
Debtor. Converted Ch. 7 - 10/06/2014

Ld
APPLICATION FOR FINAL CHAPTER 7 FEES
AND EXPENSES OF RAYMAN & KNIGHT,
ATTORNEYS FOR THOMAS A. BRUINSMA, TRUSTEE
NOW COMES Rayman & Knight, and for its Application for Final Chapter 7 Fees and
Expenses of Rayman & Knight, Attorneys for Thomas A. Bruinsma, Trustee (“Application”),

says as follows:

1. That it is the duly appointed and acting attorneys for the Trustee with respect to

the above-captioned Chapter 7 proceeding.

2. That it has acted as attorneys for the Trustee since December 10, 2014 in this
case.

3. That it has incurred certain fees and expenses in connection with this estate.

4. That the hourly rates of the professional performing services in this estate were as

follows: Steven L. Rayman (SLR), $295.00 and Cody H. Knight (CHK), $250.00.
5. That the fees and expenses that are the subject to this Application generally

related to the following matters:

a. Assistance to the Trustee with respect to the marshaling of non-
exempt assets of the estate; and

b. Miscellaneous matters pertaining to the administration of the
estate.
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6. That the fees and expenses were incurred by your Applicant from December

10, 2014 through October 19, 2019 and are summarized below:

Fees Expenses Fees Previously

Incurred Requested Allowed by Court

$5,560.00 $192.96 $0.00

Total Amount to Be Approved & Paid: $5,752.96

hs That the attached Exhibit “A” is an itemization and breakdown of the services and
expenses.

8. That said fees and expenses were reasonable, necessary and were of benefit to the

estate and resulted in a recovery in excess of $20,000.00.

9. That this Court ought enter an Order authorizing and allowing fees and expenses
in the amount of $5,752.96.

WHEREFORE, your Applicant prays:

A. That this Court issue an Order authorizing and allowing fees and expenses in the
amount of $5,752.96.

B. That this Court issue an Order authorizing Trustee to pay the sum of $5,752.96
from the estate to Rayman & Knight.

fi That this Court grant such other relief as it finds just and equitable.

RAYMAN & KNIGHT
Attorneys for Thomas A. Bruinsma, Trustee

Dated: October oA 2019 By: ( \ (v

Steven L. Rayman (P30882)
BUSINESS ADDRESS:
141 E. Michigan Avenue, Suite 301
Kalamazoo, MI 49007
Telephone: (269) 345-5156
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RAYMAN & KNIGHT

141 E MICHIGAN AVE SUITE 301
KALAMAZOO, MI 49007

(269) 345-5156

Invoice submitted to:

PATSY PIERSON (BRUINSMA)

C/O THOMAS A. BRUINSMA
GRAND RAPIDS, MI 49546

October 22, 2019

Invoice #92990

Professional Services

12/10/2014 SLR

SLR

1/10/2015 SLR

SLR

3/22/2015 SLR

5/13/2015 SLR

SLR

5/31/2015 SLR

6/1/2015 SLR

6/2/2015 SLR

DRAFT APPLICATION FOR APPOINTMENT, DECLARATION,
PROPOSED ORDER.

DRAFT COMPREHENSIVE LETTER TO ATTORNEY FOR DEBTOR
RE: TREATMENT OF LAWSUIT.

REVIEW COMPLAINT RE: IN RE BOSTON SCIENTIFIC CORP. PELVIC
REPAIR.

DRAFT CORRESPONDENCE TO LITIGATION COUNSEL RE:
BANKRUPTCY MATTERS.

REVIEW CORRESPONDENCE FROM CLIENT RE: STATUS OF MASS
TORT LITIGATION, INSTRUCTIONS TO STAFF RE: SAME.

CONFERENCE WITH ATTORNEY FOR DEBTOR (RE: MASS TORT
MATTER), RE: LAWSUIT AS PROPERTY OF THE ESTATE, NEED TO
CONTACT TRUSTEE.

DRAFT LETTER TO CLIENT RE: STATUS OF NON-EXEMPT ASSET.

CONFERENCE WITH CLIENT RE: EXEMPTION PROBLEMS.

REVIEW CLIENT'S FORM 1, DRAFT LETTER TO ATTORNEY
JOHNSON RE: EXEMPTION ISSUES, PRODUCT LIABILITY MATTERS.

CONFERENCE WITH ATTORNEY KIRKENDALL RE: STATUS OF
PRODUCTS LIABILITY MATTER.

Hrs/Rate Amount
0.20 59.00
295.00/hr
0.30 88.50
295.00/hr
0.20 59.00
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EXHIBIT

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PATSY PIERSON (BRUINSMA)

6/2/2015 SLR

6/15/2015 SLR

SLR

6/18/2015 SLR

6/22/2015 SLR

SLR

SLR

10/4/2015 SLR

10/5/2015 SLR

SLR

SLR

10/16/2015 SLR

10/17/2015 SLR

10/22/2015 SLR

12/31/2015 SLR

DRAFT COMPREHENSIVE LETTER TO CLIENT RE: STATUS OF
PRODUCTS LIABILITY MATTER, RECOMMENDATION FOR
RESOLUTION.

CONFERENCE WITH CLIENT RE: SETTLEMENT OF CLASS ACTION
SUIT, OFFER ISSUES.

CONFERENCE WITH ATTORNEY FOR DEBTOR.

CONFERENCE WITH ATTORNEY FOR DEBTOR RE: CLASS ACTION
MATTERS.

DRAFT LETTER TO SPECIAL COUNSEL RE: APPOINTMENT
MATTERS, RETAINER MATTERS.

DRAFT APPLICATION FOR APPOINTMENT OF SPECIAL COUNSEL,
DECLARATION, PROPOSED ORDER.

DRAFT LETTER TO ATTORNEY JOHNSON RE: SPLIT OF
PROCEEDS, APPOINTMENT OF SPECIAL COUNSEL, TAX REFUND
MATTERS.

CONFERENCE WITH CLIENT RE: SPECIAL COUNSEL, EXEMPTION
ISSUES.

DRAFT LETTER TO ATTORNEYS FOR DEBTOR RE: EXEMPTION,
APPOINTMENT OF SPECIAL COUNSEL, LAWSUIT MATTERS.

FIRST DRAFT, STIPULATION RESOLVING ESTATE'S RIGHT, TITLE
AND INTEREST IN CAUSE OF ACTION.

FIRST DRAFT, MOTION FOR TURNOVER.

REVIEW CORRESPONDENCE FROM SPECIAL COUNSEL
REGARDING APPLICATION FOR APPOINTMENT, REVIEW
APPLICATION, DRAFT CORRESPONDENCE TO CLIENT REGARDING
SAME.

CONFERENCE WITH TRUSTEE REGARDING LAWSUIT ISSUES,
PROCEEDS MATTERS, DRAFT CORRESPONDENCE TO ATTORNEY
FOR DEBTOR REGARDING SAME.

REVIEW MISCELLANEOUS DOCUMENTATION PERTAINING TO
LAWSUIT MATTERS, REVIEW AND REVISE STIPULATION.

DRAFT CORRESPONDENCE TO ATTORNEY FOR DEBTOR RE:
COUNTEROFFER.

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Page 2

Amount

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PATSY PIERSON (BRUINSMA)

12/31/2015 SLR

2/10/2016 SLR

2/11/2016 SLR

SLR

4/16/2016 SLR

SLR

5/12/2016 SLR

SLR

6/5/2016 SLR

6/20/2016 SLR

SLR

6/23/2016 SLR

6/28/2016 SLR

7/11/2016 SLR

7/23/2016 SLR

8/8/2016 SLR

REVIEW FILE RE: DEBTOR'S COUNTEROFFER, CONFERENCE
WITH CLIENT RE: SAME.

REVIEW FILE IN PREPARATION FOR CONFERENCE CALL WITH
ATTORNEY JOHNSON RE: TERMS OF STIPULATION.

DRAFT LETTER TO CLIENT RE: MODIFICATIONS TO STIPULATION,
APPROVAL MATTERS.

CONFERENCE WITH ATTORNEY FOR DEBTOR RE: RESOLUTION
OF MATTER, MODIFICATIONS TO STIPULATION.

DRAFT CORRESPONDENCE TO ATTORNEY KIRKENDALL RE:
STATUS OF LITIGATION.

CONFERENCE WITH CLIENT RE: STATUS OF MATTER, DRAFT
CORRESPONDENCE TO ATTORNEY JOHNSON RE: SAME.

REVIEW MEMORANDUM RE: STATUS OF MATTER.

REVIEW FILE, REVIEW PENDING STIPULATION, DRAFT
CORRESPONDENCE TO ATTORNEY FOR DEBTOR RE: SAME.

REVIEW CORRESPONDENCE FROM CLIENT RE: AGREEMENT
MATTERS, CLAIMS' ISSUES.

CONFERENCE WITH ATTORNEY FOR DEBTOR RE: SETTLEMENT
ISSUES.

FIRST DRAFT, MOTION FOR APPROVAL OF STIPULATION,
PROPOSED ORDER.

REVIEW MODIFIED STIPULATION, REVIEW PROPOSED ORDER
GRANTING MOTION FOR APPROVAL OF STIPULATION.

REVIEW FILE RE: STATUS OF TORT LITIGATION, DRAFT LETTER
TO SPECIAL COUNSEL RE: SAME.

REVIEW CORRESPONDENCE FROM SPECIAL COUNSEL RE:
STATUS OF MATTER, DRAFT CORRESPONDENCE TO CLIENT RE:
SAME.

REVIEW CORRESPONDENCE FROM CLIENT, CONFERENCE WITH
CLIENT RE: TAX RETURN ISSUES, DRAFT SUBPOENA.

REVIEW ORDER APPROVING STIPULATION RESOLVING ESTATE'S
RIGHT, TITLE AND INTEREST IN CAUSE OF ACTION, DRAFT
CORRESPONDENCE TO ATTORNEY FOR DEBTOR, SPECIAL
COUNSEL RE: SAME

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8/10/2016 SLR

9/10/2018 SLR

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9/18/2018 SLR

9/22/2018 SLR

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9/29/2018 SLR

1/10/2019 SLR

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4/11/2019 SLR

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1/12/2019 SLR

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PATSY PIERSON (BRUINSMA)

REVIEW CORRESPONDENCE FROM ATTORNEY JOHNSON RE: TAX
RETURN MATTERS, DRAFT CORRESPONDENCE IN RESPONSE.

CONFERENCE WITH CLIENT RE: MISCELLANEOUS MATTERS.
CONFERENCE WITH ANGELA AT KIRKENDALL DWYER RE:
SETTLEMENT MATTERS.

DRAFT CORRESPONDENCE TO KIRKENDALL DWYER RE:
SETTLEMENT MATTERS.

DRAFT CORRESPONDENCE TO CLIENT RE: SETTLEMENT STATUS,
PROTOCOL.

DRAFT ADDITIONAL CORRESPONDENCE TO ATTORNEY
KIRKENDALL RE: SETTLEMENT PROCEEDS.

CONFERENCE WITH CLIENT RE: CLAIMS' MATTERS, REVIEW
CLAIMS.

DRAFT CORRESPONDENCE TO ATTORNEY FOR DEBTOR RE:
CLAIMS' MATTERS.

DRAFT CORRESPONDENCE TO TROTT LAW RE: UNSECURED
DEFICIENCY CLAIM MATTER.

CONFERENCE WITH ANGELA BRAVO AT KIRKENDALL DWYER RE:
SETTLEMENT STATEMENT.

REVIEW CORRESPONDENCE FROM KIRKENDALL DWYER RE:
SETTLEMENT OF TRANSVAGINAL MESH - BOSTON SCIENTIFIC,
REVIEW CLOSING STATEMENT, "HOLD BACK" DOCUMENTATION,
MISCELLANEOUS.

CONFERENCE WITH CLIENT RE: DISTRIBUTION ISSUES.
REVIEW FILE RE: DISTRIBUTION ISSUES, SETTLEMENT ISSUES,
DRAFT LETTER TO ATTORNEY JOHNSON RE: SAME.

CONFERENCE WITH ANGELA BRAVO AT KIRKENDALL DWYER RE:
SETTLEMENT ISSUES.

DRAFT COMPREHENSIVE LETTER TO TRUSTEE RE: DISTRIBUTION
MATTERS.

DRAFT CORRESPONDENCE TO SPECIAL COUNSEL RE:
SETTLEMENT ISSUES.

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4/5/2019 SLR

5/3/2019 SLR

6/23/2019 SLR

6/22/2019 SLR

8/18/2019 SLR

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PATSY PIERSON (BRUINSMA)

CONFERENCE WITH CLIENT RE: SETTLEMENT PROBLEMS,
COMPROMISE MATTERS, APPROVAL MATTERS.

REVIEW TRUSTEE'S FORM 1, REVIEW MISCELLANEOUS
CORRESPONDENCE, CONFERENCE WITH ATTORNEY FOR
DEBTOR RE: STATUS OF CASE.

CONFERENCE WITH CLIENT RE: MOTION MATTERS.

DRAFT CORRESPONDENCE TO SPECIAL COUNSEL RE: MOTION
ISSUES.

REVISE MOTION TO APPROVE SETTLEMENT AGREEMENT,
MEETING WITH SLR RE: CLAIMS AND RELATED EXEMPTION
SETTLEMENT. RAFT

REVIEW FILE, DRAFT MOTION TO APPROVE SETTLEMENT.

REVIEW CORRESPONDENCE FROM TEXAS COUNSEL RE:
MODIFICATION TO MOTION, DRAFT CORRESPONDENCE TO
CLIENT RE: SAME.

REVIEW MODIFIED DRAFT OF MOTION TO APPROVE SETTLEMENT
(DRAFTED BY SPECIAL COUNSEL), MAKE EDITS FOR DISCUSSION
WITH TRUSTEE.

MODIFY STIPULATION CONSISTENT WITH DISCUSSION WITH
CLIENT, DRAFT CORRESPONDENCE TO SPECIAL COUNSEL RE:
SAME.

EXTENDED CONFERENCE WITH CLIENT RE: FORM OF MOTION
FOR APPROVAL OF SETTLEMENT.

FINAL REVIEW AND MODIFICATION TO PROPOSED MOTION FOR
SETTLEMENT OF CLAIM.

CONFERENCE WITH CLIENT RE: FOLLOW-UP MATTERS, SPECIAL
COUNSEL MATTERS, DRAFT CORRESPONDENCE TO SPECIAL
COUNSEL RE: SAME.

CONFERENCE WITH CLIENT RE: FINAL FORM OF MOTION FOR
SETTLEMENT.

CONFERENCE WITH CLIENT RE: MODIFICATION OF PENDING
MOTION, DRAFT MODIFICATION, CORRESPONDENCE TO
ATTORNEY FOR DEBTOR RE: SAME.

REVIEW ORDER GRANTING MOTION TO APPROVE SETTLEMENT,
DRAFT CORRESPONDENCE TO SPECIAL COUNSEL RE: SAME.

Hrs/Rate

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295.00/hr

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PATSY PIERSON (BRUINSMA)

10/9/2019 SLR

10/11/2019 SLR

SLR

10/14/2019 SLR

10/19/2019 SLR

REVIEW CORRESPONDENCE FROM SPECIAL COUNSEL RE:
SETTLEMENT MATTERS, CONFERENCE WITH CLIENT RE: SAME.

DRAFT CORRESPONDENCE TO CLIENT RE: DISTRIBUTION OF
HOLD BACK, MISCELLANEOUS MATTERS.

REVIEW CORRESPONDENCE FROM SPECIAL COUNSEL RE:
DISTRIBUTION "HOLD BACK", DRAFT CORRESPONDENCE TO
ATTORNEY FOR DEBTOR RE: SAME.

DRAFT APPLICATION FOR COMPENSATION, NOTICE, PROPOSED
ORDER.

REVIEW PACKET FROM SETTLEMENT AGENT, INCLUDING TENDER
OF PAYMENT, ACCOUNTING, CONFERENCE WITH CLIENT RE:
SAME.

For professional services rendered

Additional Charges :

12/18/2014

12/30/2014

3/23/2015

6/11/2015

10/14/2015

COPIES

POSTAGE

COPIES

POSTAGE

COPIES

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COPIES

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COPIES

Hrs/Rate

0.20
295.00/hr

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295.00/hr

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295.00/hr
0.20
295.00/hr

0.30
295.00/hr

19.00

Qty/Price

2
$0.20

1
$0.48

4
$0.20

1
$0.48

2
$0.20

1
$0.48
4
$0.20

1
$0.49

2
$0.20

Page 6

Amount

59.00

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$5,560.00

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PATSY PIERSON (BRUINSMA)

10/14/2015

1/8/2016

6/27/2016

7/6/2016

7/13/2016

8/3/2016

8/15/2016

2/20/2019

5/29/2019

7/17/2019

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Qty/Price

2
$0.49
3
$0.20

4
$0.49

22
$0.49

88
$0.20

10
$0.20

2
$0.68

41
$0.20

4
$0.47

10
$0.10

4
$0.20

2
$0.47

22
$0.10

30
$0.65

210
$0.20

18
$0.10

29
$0.65

Page 7

Amount

0.97

0.60

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10.67

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2.00

1.35

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0.80

0.93

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19.50

42.00

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18.85
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PATSY PIERSON (BRUINSMA) Page 8
Qty/Price Amount
7/17/2019 COPIES 232 46.40
$0.20
10/14/2019 COPIES 30 6.00
$0.20
POSTAGE 30 15.00
$0.50
Total additional charges $192.96
For professional services rendered 19.00 $5,752.96
User Summary
Name Hours Rate Amount
CODY H. KNIGHT 1.00 250.00 $250.00
STEVEN L. RAYMAN 18.00 295.00 $5,310.00
